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                                                                                 Beth Moskow-Schnoll
                                                                                 Tel: 302.252.4447
                                                                                 Fax: 302.252.4466
                                                                                 moskowb@ballardspahr.com

                                                                                 David S. Fryman
                                                                                 Tel: 215.864.8105
                                                                                 Fax: 215.864.8999
                                                                                 frymand@ballardspahr.com




May 24, 2022

By Electronic Filing

The Honorable Stephanos Bibas
United States Court of Appeals for the Third Circuit
601 Market Street
Philadelphia, PA 19106

Re:    M.P. Moon v. E. I. du Pont de Nemours and Co.,
       Case No. 1:19-cv-1856-SB (D. Del.)

Dear Judge Bibas:

        We represent defendant in the above referenced matter. In connection with the parties’
Stipulation and Proposed Order to Amend Scheduling Order, we write with plaintiff’s consent
to advise the Court that, since filing the Stipulation, the parties have agreed to renew settlement
discussions. The parties continue to pursue discovery diligently.


Respectfully submitted,




Beth Moskow-Schnoll (#2900)




David S. Fryman


cc:    Counsel of Record
